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                        C ase N o.16-20549-CR -SC O LY O TA ZO -% Y ES


  UN ITED STA TES O F A M ERICA ,



  PHILIP ESFORM ES,
  ODETTE BARCH A ,and
  A RN A LD O CARM O UZE,

         D efendants.


                O RD ER RE :D ELG A D O BR O TH ER S'PR IVILEG E CLA IM S

         THIS CAUSE camebeforethcCourtupon thefollowing subm issions:

                 Guillermo and GabriilDelgado's(ssDelgado Brothers'')M otion fora Protective
                 O rder to Prevent the D isclosure of Privileged Attorney-c lient Com m unications
                 and Supporting M emtirandum ofLaw (hereafter,EsMotion forProtectiveOrder'')
                 (D.E.5361.
         2.      DelgadoBrothers'NoticeofFilingPrivilegeLog (D.E.5321.
         3.      DelgadoBrothers'NoticeofFilingAmendedPrivilegeLog (D.E.5941.
         4.      Delgado Brothers'Notice ofFiling CopiesofRecorded Telephone Convers tions
                                                    1
                 and E-M ailExchanges(D.E.5931.
         5.      Delgado Brothers'Notice of Filing Second Privilege Log (FCI-JESUP) (D.E.
                 6341.
         6.      Delgado Brothers' Sçcond N otice of Filing Copies of Recorded Tele hone
                 ConversationsandE-MailExchanges(FCI-JESUP)(D.E.6461.2
                 DefendantPhilip Esfonnes'(dr efendant''orSiEsformes'')Responseto M vants
                 Delgados'PrivilegeLpg (D.E.5421.
         8.      Defendant's Oppositipn to Non-party Delgados'M otion for a Protective Order
                 (hereafter,CtoppositiontoM otion forProtectiveOrder'')(D.E.5501.

    Thesem aterialswere subm itted to thetlndersigned forin-camera review on October 12,2017.
  2 Thesem aterialswere subm itted to theundersigned forin-camera review on Decem ber6, 2017.
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                 Notice of Filing Exhibits in Support of Esformes (DE 542) Opposition to
                 Delgados'Privileged Log and (DE 5501 Opposition to Delgados'M otion for
                 ProtectiveOrder(hereafter,SdNoticeofFilingExhibits'')ED.E.5771.
          10.    DefendantEsform es'M otion to Compeland Obiectionsto Second Privilege Log
                 (hereafter,iiM otiontoCompel'')(D.E.6401.
                 Brief of Amicus Culiae FederalPublic Defender (hereafter,(W micus Brief')
                 (D.E.541j.          '
                 Reply Brief of Amicus Curiae Federal Public Defender (hereaher, k
                                                                                 iAmicus
                 Reply''LD.E.5541.
          On October3,2017,the undersigned held a hearing on the Delgado Brothers'Privilege

 Claims.SeeTranseriptofHearinggD.E.5901.
          Having carefully considered the m atters presented in the foregoing subm issions and the

 argum ents ofcounselatthe October 3rd hearing,and having conducted an in cam era review of

 the m aterials at issue, the undersigned.D EN IES the Delgado Brothers' M otion for Protective

 Orderand GRANTS Defendant'sM otion to Compelon thenarrow basissetforth below .

                                         BA CK G R O UN D

          The Delgado Brothers are governm ent cooperating witnesses in this case, who have

 entered cooperating guilty pleas in their own case. See Case N o.14-20359-CR-M ART1NEZ

 (hereafter,iûcase 14-20359') (D.E.208,2121.They havebeensentenced,andareservingterms
 Ofimprisonment(Case 14-20359,D./.234,2351.GabrielDelgado(ilGabriel'')wassentencedto
 55monthsand Guillermo Delgado (;(W i11y'')wassentenced to 110 months. 1d. On Nfay 22s
 2017,thegovernmentfiled aMotiontbraRule35Reduction asto Gabriel'ssentence(Case14-
 20359,D.E.2481. Asaresult,Gabriel'ssentencewasreduced to 36 monthsrcase 14-20359,
 D.E.250,2511.W illy'spleaagreementalso contemplatesapossiblesentencereductionmotion
 pursuantto Fed.R.Crim.P.35,(Case 14-20359,D.E.2081,butno such motion hasyetbeen
 filed.
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        The governm ent has produced to D efendant recorded com m unications betw een the
                                    ;
 Delgado Brothers and theirpriorcounsel,Norman and Jane M oskowitz (the kdM oskowitzes''),
 from 2014. SeeOpposition to M otion forProtectiveOrder(D.E.550 at2). Defendantserved
 subpoenasontheBureau ofPrisons($$I3OP'')forrecordedcommunicationsbetweentheDelgado
 Brothersandtheircurrentcounsel,JoaquinM endez($dM endez''),whichhaveoccurredwhilethey
 are serving their sentences atFcl-Estilland Fc l-lessup. A s a result ofpriorproceedings,those

 communications have been produced by the BOP and have been provided to Defendant,except

 forthecommunicationsinvolvingMendezthatarethesubjectoftheDelgadoBrothers'claimsof
 attorney client privilege,as listed in theirAmended Privilege Log (D.E. 5941 and Second
 Privilege Log (D.E.6341. There areno attomey-clientprivilege claimsfortheBOP produced
 com m unications betw een the Delgado Brothers and the M oskow itzes.

                                        D ISC U SSIO N

               party invoking the attorney-client privilege has the burden of proving that an

 attorney-clientrelationship existed and that the particular com munications were contsdential.''

 United Statesv.Schaltenbrand,930 F.2d 1554,1562 (11th Cir.1991).çtln orderto show that
 colnm unications m ade to an attolmey are within the privilege, it m ust be shown that the

 comm unication was made to him confsdentially,in hisprofessionalcapacity,forthe ptlrpose of

 securing legaladvice or assistance.'' ld.Sd-f'
                                              he key question in determ ining the existence of a

 privileged com m unication is whether the client reasonably understood the conference to be
                                    ;
 conidential.'' ld. ln thiscase,allt)ftllecommunicationsatisstle(recorded telephonecallsand
 e-mails)were made utilizing prison facilities. Asa result,the contidentiality elementofthe
 Pr1
   -V1
     -leg:e 1
            -s at1
                 -ssue.
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         TheDelgadoBrothersacknowledgethattheuseofprisonfacilitiesisexpresslysubjectto
  naonitoring alid recording by way o'
                                     f notitscation atthe outset of the com munications. They
                                       '
                                       '
                            .

  argue,however,thatthey and M endez took affirm ativestepsto protectthe privilegeby expressly

  annotlncing thatthe com lnunications were deem ed privileged by them . They also argue thatin

  casessuch asthisone,wheretheclientisincarcerated in alocation thatisfaraway from counsel,

  there is no effective w ay to com m unicate exceptthrough the use ofprison facilities.

         TheFederalPublicDefknder(asAmicus)strongly argtlesthata blanketdeclarationthat
  com municationsusing prison facilitiesarenotprivileged would be detrimentaltothework ofhis

  officeandthatofCriminalJusticeAct(kéCJA'')counsel,giventhetimeconstraintsunderwhich
  they laborwhich necessitatetheuse ofprison facilitiestbreffectivecom m unication.

         Detkndantarguesthatthe BOP requires inm atesto expressly consentto monitoring and

  recording of colnm unications using prison facilities and has provided proof of such consent for

  theDelgado Brothers. See Notice ofFilingExhibits (D.E.5771. Detkndantcitesa numberof
  non-binding cases forthe proposition that knowing use ofa m onitored prison phone detkats a

  clailn ofplivilege. See Opposition to Motion forProtective Order(D.E.550 at9-l01,
                                                                                  .seealso
  M otion to Compel(D.E.640 at2-31(summarizing the legalauthoritiesupon which Defendant
  relies).
         ln United States v.Noriega,917 F.2d 1543 (11th Cir. 1999),the Eleventh Circuit
  discussed a related question to the one presented here:

         In applying the law surrounding the attorney-client privilege to the facts of this
         case we willt' irstassum e,forthe purpose of discussion,thatNoriega did sign a
         valid release evidencing his understanding thatalIofhis telephone conversations,
         including those w ith m em bers of his detknse team , w ould be recorded. U nder
         such circulnstances, it is conceivable that the District Court could find that
         N oriega's attorney-clientprivilege w ould notprohibitthe governm ent's recording
         ofN oriega's telephone conversations with his defense attorneys because he had
         no reasonable expectation ofprivacy.H ow ever,this isa m atterto be addressed by

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         the District Court. If Noriega.did intend his conversations with his detknse
         attorneys to be confidential,after signing a release, the District Coul't would be
         required to ascertain whetherthisexpectation wasreasonable.

  ld.at1551.

         ln their privilege logs, the Delgado Brothers have marked with an asterisk the

  communicationswhich they claim to haveexpressly identif-
                                                         ied asprotected by theattorney-client

  privilege. See Amended Privilege Log (D.E.5941.
                                                ,Second Privilege Log (D.E.634j. W ith
  regard tothetelephonecalls,onlytwoaresodesignated.SeeAtnendedPrivilegeLog (D.E.594,
  April5,2006 and April5,2017 calls). The undersigned listened to these calls and heard a
  passing mention ofprivilegein only oneofthecalls.3 W ith regard tothe e-m ails, there isaclaim

  of itattorney-client privilege''in the headers. However, severalemails include the Delgado

  Brothers' w ives, which vitiates the confidentiality required for assertion of the attorney-client

  privilege claim . Schaltenbrand,930 F.'
                                        .
                                        2d at 1562.

         Asto the single telephonecalland the e-m ailssolely between the Delgado Brothersand

  M endez,the undersigned must deterrnine whether the dsattorney-client privilege''designation

  represents a reasonable expectation ofprivacy on theirpal4 afterthey signed the BOP releases.

  Norieca,917 F.2d at1551. Asnoted above,thegovernm enthasproduced to Defendantrecorded

  com municationsbetween the Delgado Brothers and theirpriorcounsel,the M oskowitzes,from

  2014,
      . and there are no attorney-client privilege claim s for BO P produced com m unications

  between the Delgado Brothersand the M oskowitzes. Given these disclosuresand theirstatusas

  cooperating w itnesses in thiscase,the Delgado Brothers cnnnothave a reasonable expectation of

  privacy in their recorded calls and em ails with their current counsel, M endez, using prison

  facilities.


  3 The telephone callsare in a mix ofEnglish and Spanish (commonly called lçspanglish''),which the
  undersigned isable to understand due to hertluency in the Spanish language.
                                                    5
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          In light of this dcterm ination, the undersigned finds no need to consider the broader

  policy issuesargued by theFederalPublic Defenderin hisAmicusBrietlorto makea blanket
  ruling regarding attorney-clientprivilege claim s ofinm ateswho use m onitored prison facilities

  forcommunicationswith theircounsel.

                                         CONCLUSION

          Based on the foregoing considerations,itis

          ORDERED AND ADJUDGED thatthe Delgado Brothers'M otion forProtective Order

  LD.E.5361isDENIED and Defendant'sM otion to Compel(D.E.6401isGRANTED. Counsel
  for the Delgado Brothers SHA LL SERV E on counsel for Defendant the recorded telephone

  conversationsand e-m ailswithheld on thebasisoftheattorney-clientprivilege,instanter.
          DONE AND ORDERED i                                                 +
                                     n Cham bers,at M iami,Florida,this 11 day of Decem ber,
  2017.


                                                              ' .
                                                                           X
                                                       A LICIA M .OTA -REY ES
                                                       UN ITED STA TES M A G ISTM TE JUD G E


  cc:     United StatesD istrictJudge R obertN .Scola,Jr.
          CounselofRecord




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